Case 1:13-cv-24700-KMW Document 462 Entered on FLSD Docket 01/04/2019 Page 1 of 38



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                             Case No. 13-24700-CIV-WILLIAMS

  WILLIAM L. ROBERTS, II, et al.,

         Plaintiffs,

  vs.

  STEFAN KENDAL GORDY, et al.,

         Defendants.
  ~~~~~~~~~~-'

                                      OMNIBUS ORDER

         THIS MATTER is before the Court following the November 14, 2018 status

  conference, when the Court heard argument on certain ownership and damages issues.

  The Court's rulings on these issues follows.

  I.     BACKGROUND

        The Court divides its background discussion into three sections: (A) a brief

  procedural history of the case before the Court's April 8, 2016 Order dismissing Plaintiffs'

  claims; (B) the Court's Dismissal Order; and (C) the Eleventh Circuit's Opinion reversing

  the Court's Dismissal Order and remanding for further proceedings.

        A.       Procedural History

         Plaintiffs William L. Roberts, II, p/k/a Rick Ross, Jermaine Jackson, and Andrew

  Harr filed this action in December 2013 alleging that the musical composition Party Rock

 Anthem infringed on their copyright to the musical composition Hust/in'. (DE 1). Plaintiffs

  sued the authors of Party Rock Anthem and various individuals and entities involved in

  marketing, advertising, and otherwise exploiting that song.
Case 1:13-cv-24700-KMW Document 462 Entered on FLSD Docket 01/04/2019 Page 2 of 38



         In the operative second amended complaint (DE 158), Plaintiffs alleged four

  claims: Count I-Defendants' musical composition Party Rock Anthem infringes their

  copyright to the musical composition Hust/in'; Count II-Defendants' licensing their

  musical composition Party Rock Anthem to KIA Motors for use in advertisements infringes

  their copyright to Hust/in'; Count Ill-Defendants' marketing merchandise, including T-

  Shirts, bearing the phrase "Everyday I'm Shufflin" infringes on their copyright to Hust/in';

  and Count IV-Defendants' marketing merchandise, including T-Shirts, with the phrase

  "Everyday I'm Shufflin" infringes on their trademark to the phrase "Everyday I'm Hustlin."'

         For their part, Defendants asserted many defenses to Plaintiffs' claims, including,

  among others, that ( 1) Plaintiffs do not own a valid copyright in Hust/in' and (2) Party Rock

  Anthem does not infringe on Hust/in', based on the fair use doctrine.          In May 2015,

  Plaintiffs dismissed their trademark claim (Count IV). (DE 201 ). Several months later,

  the Court granted Defendants' motion for summary judgment on Count Ill of the second

  amended complaint (DE 331 ), but denied their motion for summary judgment on fair use.

  (DE 347). The Court held that because Defendants' use of Party Rock Anthem does not

  constitute parody, they could not argue this at trial, but they could pursue their fair use

  defense outside the parody context. (DE 347).

         The Parties also filed competing summary judgment motions on the merits

 elements of Plaintiffs' copyright infringement claims: (1) ownership of a valid copyright;

  and (2) copying.    The Parties subsequently filed pretrial motions in limine, Daubert

  motions, as well as proposed jury instructions and a pretrial stipulation. The Court held

  a pretrial conference in October 2015. (DE 367). Following the pretrial conference, the

  Court issued a Request to the Register of Copyrights regarding the multiple registrations



                                                2
Case 1:13-cv-24700-KMW Document 462 Entered on FLSD Docket 01/04/2019 Page 3 of 38



  for the Hust/in' copyright. 1 The Parties then submitted supplemental briefing based on the

  Registrar's response that it would not have issued any of the three copyright registrations

  to Hust/in' had it known of the various inaccuracies in the registrations.

           8.     The Court's April 2016 Order Dismissing This Case

           On April 8, 2016, the Court entered its Order dismissing Plaintiffs' claims. (DE 399).

  In the Order, the Court initially set out to resolve this issue: "Was the musical composition

  Hust/in' validly registered with the Copyright Office, and, if so, do Plaintiffs have an

  ownership interest in the exclusive right to prepare derivative works for the musical

  composition Hust/in'?" Id. at 1.

           As to copyright validity, the Court held that none of Plaintiffs' three copyright

  registrations were valid under 17 U.S.C. § 411, because (1) each contained inaccurate

  information and Plaintiffs had knowledge of the inaccuracies; and (2) the Registrar had

  established that the inaccuracies, if known, would have caused her to refuse registration

  for the copyrights. 2 Because registration is a prerequisite to filing an infringement suit,




  1As explained in detail in the Court's Dismissal Order (DE 399 at 10-12), the musical
  composition Hust/in' is the subject of three different registrations with the Copyright Office,
  each of which contains inaccurate and contradictory information.

  2   Title 17 U.S.C. § 411 provides:

           (a) .... [N]o action for infringement of the copyright in any United States
           work shall be instituted until preregistration or registration of the copyright
           claim has been made in accordance with this title ....

           (b)(1) A certificate of registration satisfies the requirements of this section
           and section 412, regardless of whether the certificate contains any
           inaccurate information, unless-(A) the inaccurate information was included
           on the application for copyright registration with knowledge that it was
           inaccurate; and (B) the inaccuracy of the information, if known, would have
           caused the Register of Copyrights to refuse registration.
                                                 3
Case 1:13-cv-24700-KMW Document 462 Entered on FLSD Docket 01/04/2019 Page 4 of 38



  the Court held Plaintiffs' infringement claims were barred and dismissed the case. (DE

  399 at 16-29).

         As to copyright ownership, the Court first stated that because it had determined

  Plaintiffs lacked a valid copyright registration, it "need not decide whether Plaintiffs have

  standing to assert [their] copyright infringement claims in the first place." Id. at 29. Even

 so, the Court proceeded to "illustrate some of the problems with Plaintiffs' contention that

 they are 'the legal and/or beneficial copyright owners of the musical work at issue,

 Hust/in'."' Id.

         The Court then explained the facts about Roberts', Harr's, and Jackson's legal

  ownership interests. Id. at 29-39. The Court noted-without deciding-many legal and

 factual disputes relating to Plaintiffs' purported legal ownership of Hust/in', including: (i)

 the validity and effect of Roberts' 2006 assignment of his interest in Hust/in' to his wholly-

 owned company, 3 Blunts Lit at Once, LLC ("3 Blunts"), given that 3 Blunts was

 administratively dissolved in 2004 (Id. at 32); (ii) whether Harr & Jackson created Hust/in'

 as a "work for hire" for their wholly-owned company, Trac-N-Field Entertainment, LLC

  ("TNF") (Id. at 34); (iii) whether Harr and Jackson ever assigned their interest in Hust/in'

 to TNF (Id. at 35 FN 35); (iv) the effect and impact of the October 2005 SNS/TNF

 agreement, signed by Harr but not Jackson (Id. at 35); (v) the effect and meaning of the

  May 2006 co-publishing agreement (Id. at 36); (vi) the effect and meaning of the

  November 2006 NottingDale agreement (Id. at 37); and other legal and factual disputes

 on legal ownership. 3 But the Court never ruled on any of these legal and factual disputes




 3 The Court even created a chart in an attempt to clarify the tangled web of purported
 transfers and assignments of Plaintiffs' legal interest in Hust/in'. (DE 399 at 43).
                                               4
Case 1:13-cv-24700-KMW Document 462 Entered on FLSD Docket 01/04/2019 Page 5 of 38



  relating to legal ownership, nor did it otherwise resolve the Parties' respective legal

  ownership interests. (Indeed, with regard to Jackson and Harr, the Court presented five

  possible scenarios.) However, the Court did observe that "[u]nfortunately, as of this date,

  neither Harr, nor Jackson, nor Roberts, nor TNF, nor FNG, nor Sony, nor Defendants, nor

  their counsel, nor the Court can 'figure out' who owns what with regard to the musical

  composition Hust/in'." Id. at 39.

        The Court similarly did not address the crux of the Parties' dispute on beneficial

  ownership: their competing legal arguments about the definition and scope of beneficial

  ownership under 17 U.S.C. § 501 (b). 4 Instead, it determined there was no evidence that

  any of the Plaintiffs ever received-or were even entitled to receive-royalty payments

  for the preparation of derivative works based on Hust/in':

        The Court has not found in the voluminous briefing, nor have the Parties
        identified, any record evidence demonstrating any royalty payment to
        Roberts, Harr, or Jackson relating to the right to prepare derivative works of
        Hust/in'. Nor is there any evidence that Plaintiffs, themselves, are even
        entitled to royalties for the exploitation of Hust/in'. Roberts has not produced
        any royalty statements showing any royalties he received from 3 Blunts or
        FNG in exchange for any transfer of his ownership interest in Hust/in'.
        Likewise, Harr and Jackson have produced no royalty statements showing
        any royalties received from TNF or FNG in exchange for any transfer of any
        ownership interest in Hust/in. . . . And each of the agreements signed by
        TNF, 3 Blunts, Roberts, Harr or Jackson make clear that Roberts, Harr and
        Jackson do not have any right to authorize or create derivative works of
        Hust/in'; rather, that exclusive right belongs to Sony/ATV, FNG, and
        NottingDale/Warner. In sum, there is no evidence that Harr, Jackson, or
        Roberts personally receive any royalties for the licensing or commercial
        exploitation of Hust/in'.

  (DE 399 at 41).


  4 As discussed below, Defendants argue that a "beneficial owner" of an exclusive right
  under a copyright is a legal owner who has parted with legal title in exchange for
  percentage royalties based on sales or license fees. Plaintiffs argue for a much broader
  definition of beneficial ownership that includes "authors who receive royalty payments for
  a creative work ... through companies owned and controlled by them[.]" (DE 353 at 47).

                                               5
Case 1:13-cv-24700-KMW Document 462 Entered on FLSD Docket 01/04/2019 Page 6 of 38




         In the conclusion section of the Dismissal Order, the Court stated that none "of

  these Plaintiffs, either legally or beneficially, hold the kind of clearly delineated exclusivity

  over at least one strand of the bundle of rights that would permit [them] to sue for

  infringement." Id. at 42 (internal quotation omitted). The Court then ruled: "Because

  Plaintiffs do not hold a valid copyright registration and because Plaintiffs have not

  established either legal or beneficial ownership of the exclusive right to prepare derivative

  works for Hust/in', Plaintiff's motion for summary judgment is DENIED and this case is

  DISMISSED." Id.

         C.     The Eleventh Circuit's Opinion

         The Eleventh Circuit reversed this Court's ruling on the validity of the registrations.

  Roberts v. Gordy, 877 F.3d 1024 (11th Cir. 2017). At the outset of its Opinion, it stated:

  "The Court need not reach a decision on the ownership issue because the district court

  misapplied the law by invalidating the copyright registrations." Id. at 1025.

         On copyright validity, it held that this Court had misapplied the law by holding the

 copyrights were invalid with no evidence of scienter. "A proper application of 17 U.S.C.

 § 411 (b) under the framework of Original Appalachian and St. Luke's"-which, according

 to the Eleventh Circuit's Opinion, requires a showing of scienter-"would have yielded the

  result of validity of registration-albeit plural registrations." Roberts, 877 F.3d at 1030.

 "And while '[a]s a general rule only one copyright registration can be made for the same

 version of a particular work,' specific exceptions are recognized by a federal regulation .

 . . . [L]ogic would dictate that Original Appalachian and St. Luke's would support at least

 one more-a good faith, redundant registration for a published work." Id.




                                                 6
Case 1:13-cv-24700-KMW Document 462 Entered on FLSD Docket 01/04/2019 Page 7 of 38



         On copyright ownership, the Eleventh Circuit's statements were limited. After

  initially 5 stating that it "need not reach a decision" on the issue, it later noted while

  discussing validity that "there is no dispute by any party that Appellants authored and

  created Hust/in', and there is no dispute that they continue to receive the writers' share 6

  of royalties from their musical composition." Id. In its conclusion, the Eleventh Circuit said:

         Notwithstanding the merits of infringement or parody/fair use, Appellants
         are the undisputed authors of Hust/in', and they should be afforded the
         opportunity to protect their copyright from what they view as an unlawful
         use .... Having found that the registrations remain valid under Original
         Appalachian and St. Luke's, the Court need not consider the district court's
         analysis for actual or constructive 7 ownership because Appellants have met
         their burden of production for establishing a prima facie case of ownership
         and copyright validity.

  Id. at 1031.

  II.    ANALYSIS: OWNERSHIP

         Only "[t]he legal or beneficial owner of an exclusive right under a copyright is

  entitled ... to institute an action for infringement of that particular right[.]" 17 U.S.C. §

  501(b). The exclusive right here is the right to prepare derivative works. 8 See, e.g., (DE



  5 The Court also remarked that "it was on the grounds of invalid copyright registrations
  and failure to demonstrate ownership that the district court dismissed this case at
  summary judgment. ... Notably, a copyright registration provides a presumption of
  copyright ownership. Invalidation of a registration eliminates this presumption." Roberts
  v. Gordy, 877 F.3d 1024, 1026, FN 3 (11th Cir. 2017) (citing Donald Frederick Evans &
  Assocs., Inc. v. Cont'/ Homes, Inc., 785 F.2d 897, 903 (11th Cir.1986)).

  6 As the Court explains below-and as Plaintiffs concede-receiving "writer's share"
  royalties does not demonstrate standing to sue for infringement as a copyright owner.

  7The Court assumes the reference to "actual or constructive" ownership refers to legal or
  beneficial ownership.

  8 Under 17 U.S.C. § 106, a copyright owner's exclusive rights under the copyright are (1)
  to reproduce the copyrighted work in copies or phonorecords; (2) to prepare derivative
  works based upon the copyrighted work; (3) to distribute copies or phonorecords of the
                                                7
Case 1:13-cv-24700-KMW Document 462 Entered on FLSD Docket 01/04/2019 Page 8 of 38



  158, Second Am. Campi.,     ,m 46, 55). The Parties continue to disagree if Plaintiffs have
  presented enough evidence of legal or beneficial ownership of that right to proceed to trial

  on their infringement claims. And the Eleventh Circuit's Opinion has only added another

  dimension to their disagreement: The Parties now contest whether the Eleventh Circuit

  determined Plaintiffs' ownership status for purposes of summary judgment, and what

  ownership issues remain for adjudication by this Court.

         Defendants insist that the Eleventh Circuit only analyzed and ruled on the multiple

  registrations and copyright validity issue. According to Defendants, the Eleventh Circuit

  did not resolve the ownership issue, and so this Court must revisit the merits of the issue

  "while now giving appropriate consideration and weight to the rebuttable evidentiary

  presumption that attaches to facts stated in a valid copyright registration or

  registrations[.]" (DE 447 at 6). Defendants believe the undisputed facts firmly establish

  that Plaintiffs lack standing as legal or beneficial owners to sue for infringement.

         Plaintiffs disagree. They argue "the registrations themselves take care of the

  ownership issue, at least for purposes of proceeding to trial, and the Court need not,

  therefore, wade into the various agreements, etc." Id. According to Plaintiffs, the Eleventh

  Circuit's statements that "[t]here is no dispute by any party that Appellants authored and

  created Hustlin' and there is no dispute that they continue to receive the writers' share of




  copyrighted work to the public by sale or other transfer of ownership, or by rental, lease,
  or lending; (4) in the case of literary, musical, dramatic, and choreographic works,
  pantomimes, and motion pictures and other audiovisual works, to perform the copyrighted
  work publicly; (5) in the case of literary, musical, dramatic, and choreographic works,
  pantomimes, and pictorial, graphic, or sculptural works, including the individual images of
  a motion picture or other audiovisual work, to display the copyrighted work publicly; and
  (6) in the case of sound recordings, to perform the copyrighted work publicly by means
  of a digital audio transmission.
                                               8
Case 1:13-cv-24700-KMW Document 462 Entered on FLSD Docket 01/04/2019 Page 9 of 38



  royalties from their musical composition" necessarily "lead to the conclusion that the

  Plaintiffs are, at a minimum, beneficial owners." Id. Plaintiffs also argue that "[i]f the

  Eleventh Circuit had determined, based on the record before it, that Plaintiffs had

  definitively failed to show legal or beneficial ownership (an issue squarely before it), it

  would have affirmed on that basis." Plaintiffs believe "it is apparent that the Eleventh

  Circuit deemed the registrations and the record on ownership sufficient for this case to

  proceed to trial where Defendants will have the burden of proof on this issue." 9 Id.

        After careful consideration of the complete record and applicable law, the Court

  determines that the Eleventh Circuit did not clear Plaintiffs of the summary judgment

  hurdle on ownership, and the Court will resolve the issue now.           After applying the

  rebuttable presumption of copyright ownership that attends a valid copyright registration,

 the Court rules that Plaintiffs have presented no evidence of beneficial ownership, so

  summary judgment will be granted for Defendants on this issue. Because the undisputed

 facts demonstrate that Roberts is also not a legal owner of the copyright, the Court will

 grant final summary judgment against him. But because genuine issues of material fact

  remain regarding Harr and Jackson's legal ownership of Hust/in', they are entitled to a

 jury trial on this issue and on their infringement claims.     Finally, as to their damages

 (should they prevail at trial), the Court rules that Plaintiffs Harr and Jackson's recoverable

 damages are limited to their respective ownership interests in Hust/in'.




 9 Plaintiffs have not fully explained who Uudge or jury) should "wade into the various
 agreements" and resolve the many legal and undisputed factual issues on ownership,
 when these issues should be resolved (they acknowledged at the November status
 conference that some issues must be decided before trial), or in what context the issues
 should be decided (they claim the Eleventh Circuit Opinion precludes this Court from
 making any summary judgment rulings on ownership).
                                               9
Case 1:13-cv-24700-KMW Document 462 Entered on FLSD Docket 01/04/2019 Page 10 of 38



         A.     The Eleventh Circuit Did Not Resolve The Summary Judgment
                Ownership Issues

         Based on the record and the Eleventh Circuit Opinion, the Court concludes that

  the Eleventh Circuit did not resolve the summary judgment arguments on ownership.

  Under the mandate rule, district courts cannot revisit "matters decided expressly or by

  necessary implication in an earlier appeal of the same case." AIG Baker Sterling Heights,

  LLC v. Am. Multi-Cinema, Inc., 579 F.3d 1268, 1270 (11th Cir. 2009). A lower court does

  not run afoul of the mandate rule when, following a remand, it issues a ruling that "in no

  way disturb[s] the panel's answers" to the questions in the original appeal. Id. at FN 3;

  Barber v. Int'/ Bhd. of Boilermakers, Iron Ship Builders, Blacksmiths, Forgers, & Helpers,

  Dist. Lodge No. 57, 841 F.2d 1067, 1070-73 (11th Cir. 1988) ("The lower court may

  consider anew issues not within [the mandate's] compass.").

         Here, the Eleventh Circuit did not "decide[] expressly" that Plaintiffs had presented

  sufficient evidence to defeat summary judgment on ownership. Nothing it said in its

  Opinion demonstrates that it determined any of the myriad issues the Parties and this

  Court identified on legal and beneficial ownership, or that it otherwise held Plaintiffs had

  adduced sufficient evidence of ownership to defeat summary judgment and present their

  claims to a jury. Indeed, the opposite is true: the Eleventh Circuit expressly said it was

  not "consider[ing]" the issue. Roberts, 877 F.3d at 1031.

         Nor did the Eleventh Circuit rule on ownership "by necessary implication." Apart

  from saying that it "need not reach a decision on the ownership issue," these are the

  Eleventh Circuit's only other statements relating to Plaintiffs' ownership of Hust/in': "there

  is no dispute by any party that [Plaintiffs] authored and created Hust/in"'; "there is no

  dispute that they continue to receive the writers' share of royalties from their musical


                                               10
Case 1:13-cv-24700-KMW Document 462 Entered on FLSD Docket 01/04/2019 Page 11 of 38



  composition"; "[Plaintiffs] are the undisputed authors of Hust/in"'; and "the Court need not

  consider the district court's analysis for actual or constructive ownership because

  Appellants have met their burden of production for establishing a prima facie case of

  ownership and copyright validity." None of these remarks-on their own or together-

  mean that the Court definitively ruled that Plaintiffs have developed a sufficient record to

  advance their ownership claims to a jury.

         First, just because Plaintiffs are "undisputed authors" and "creators" of Hust/in'

  does not mean that they are owners with standing to sue for infringement.                Only

  "authors/creators" who have a legal or beneficial ownership interest in the copyright when

  it is infringed may sue. 17 U.S.C. § 501 (b) ("The legal or beneficial owner of an exclusive

  right under a copyright is entitled, subject to the requirements of section 411 [of the

  Copyright Act], to institute an action for any infringement of that particular right committed

  while he or she is the owner of it.") (emphasis added); See, e.g., Fathers & Daughters

  Nevada, LLC v. Lingfu Zhang, 284 F. Supp. 3d 1160, 1164 (D. Or. 2018) (holding on

  summary judgment that plaintiff/author-which held a valid copyright registration listing it

  as author-lacked standing to sue for copyright infringement because it could not show

  legal or beneficial ownership of the right allegedly infringed; it had assigned away all

  ownership interests in the copyright). 10 As a result, merely being an "undisputed author"

  or "creator" does not demonstrate standing to sue for infringement.



  10 The plaintiff/author in Fathers & Daughters argued-like Plaintiffs argue here-that "it
  is the legal owner [of the copyright] because it registered the copyright and the copyright
  remains registered in its name." Fathers & Daughters Nevada, LLC v. Lingfu Zhang, 284
  F. Supp. 3d 1160, 1164 (D. Or. 2018). The court explained that "[t]his simplistic view of
  ownership of a copyright misunderstands that copyright 'ownership' can be transferred .
  . . . [A]fter a copyright owner has fully transferred an exclusive right, it is the transferee
  who has standing to sue for that particular exclusive right. . . . [T]he [former] copyright
                                               11
Case 1:13-cv-24700-KMW Document 462 Entered on FLSD Docket 01/04/2019 Page 12 of 38



         For the same reasons, establishing a prima facie case of ownership through valid

  registrations is also insufficient to defeat summary judgment on standing to sue as

  copyright owner. See, e.g., Fathers & Daughters, 284 F. Supp. 3d at 1167-68

  (plaintiff/author who could establish prima facie case of ownership through valid

  registrations still could not survive summary judgment on ownership because it had

  transferred away its ownership interest).         Establishing a "prima facie case" and

  "presumption" of ownership merely shifts the summary judgment burden to defendants to

  prove that the plaintiffs have transferred, and do not retain, legal or beneficial ownership

  of the exclusive right allegedly infringed. See Calhoun v. Lillenas Publishing, 298 F.3d

  1228, 1232-33 (11th Cir. 2002) (explaining that, on summary judgment, a defendant "can

  fully negate" a prima facie case of copyright infringement); Donald Frederick Evans &

  Assocs., Inc. v. Cont'/ Homes, Inc., 785 F.2d 897, 903 (11th Cir. 1986) (explaining that if

  a plaintiff presents "prima facie evidence of the validity of the copyright and of the facts

  stated in the certificate," "[t]he burden then shifts to the defendants to rebut this

  presumption of validity."); see also Estate of Burne Hogarth v. Edgar Rice Burroughs,

  Inc., 342 F.3d 149 (2d Cir. 2003) (agreeing with Register's statements to the court that "a

  certificate of registration creates no irrebuttable presumption of copyright validity.

  Extending a presumption of validity to a certificate of copyright merely orders the burdens

  of proof. Furthermore, where other evidence in the record casts doubt on the question,

  validity will not be assumed. Thus, all that the statutory presumptions flowing from the

  certificates of registration do is to shift the burden of going forward"); Universal Furniture




  owner no longer has standing to sue for the rights that have been transferred. Id. at 1167-
  68 (emphasis in original).
                                               12
Case 1:13-cv-24700-KMW Document 462 Entered on FLSD Docket 01/04/2019 Page 13 of 38



  Int'/, Inc. v. Collezione Europa USA, Inc., 618 F.3d 417, 428 (4th Cir. 2010) ("When a[]

  certificate [of registration] exists, the burden shifts to the defendant to prove that the

  claimed copyrights are invalid. However, the Copyright Office's practice of summarily

  issuing registrations (perhaps even the day of filing the application, as in this case)

  counsel against placing too much weight on registrations as proof of a valid copyright.

  Accordingly, a reviewing court should assess other relevant indicia of ownership, such as

  the parties' intent and the terms of transfer agreements and other documents establishing

  a chain of title."). As a result, the Eleventh Circuit's statement that "Plaintiffs have met

  their burden of production for establishing a prima facie case of ownership and copyright

  validity" does not "necessarily imply" that Plaintiffs defeat summary judgment on

  ownership. 11

         Nor does receiving "writer's share" royalties relate to Plaintiffs' standing to sue for

  infringement of the exclusive right to prepare derivative works of Hust/in'.            Indeed,

  Plaintiffs concede that this is not the case. (DE 265 at 2) ("Nor do Plaintiffs argue that

  their receipt of direct royalty payments from performing rights societies, by itself, make

  them beneficial owners[.]"); (DE 228 at 3 FN 3) ('"[W]riter's share' refers to the percentage




  11 For example, if an artist creates a song, and then properly registers the copyright, that
  artist is the owner of all rights in the copyright and may sue for infringement. But the artist
  may decide to contract away all interest the artist has or could ever have in the song to a
  company for an immediate lump sum payment. If the artist later sued for infringement of
  the copyright, then as the author/creator with a valid copyright registration listing the artist
  as the author/creator, the artist could establish a prima facie case of copyright ownership.
  But if on summary judgment the defendant presented the agreement assigning away all
  of the artist's interest in the copyright, then the prima facie case would be rebutted, and
  the defendant would be entitled to summary judgment on ownership. See Fathers &
  Daughters, F. Supp. 3d at 1164, 1167-68; Calhoun v. Lillenas Publishing, 298 F.3d 1228,
  1232-33 (11th Cir. 2002); see also 17 U.S.C. § 501 (b) (permitting only a legal or beneficial
  owner of an exclusive right under a copyright to sue for infringement of that right).

                                                13
Case 1:13-cv-24700-KMW Document 462 Entered on FLSD Docket 01/04/2019 Page 14 of 38



  of the income generated from the exploitation of the musical composition that is payable

  to the writer(s) of the musical composition, irrespective of who owns the copyright in such

  musical composition.") (citing Nimmer on Copyright§ 30.02) (emphasis added). Because

  the right to receive "writer's share" royalties is not an exclusive right under 17 U.S.C. §

  106, it cannot give rise to an infringement suit under 17 U.S.C. § 501 (b), which permits

  only the owner of an exclusive right under a copyright to sue for infringement. It also

  cannot demonstrate beneficial ownership, because it is not received in exchange for

  parting with legal title to a copyright. See, e.g., Smith v. Casey, 741 F.3d 1236, 1242 (11th

  Cir. 2014) (holding that the plaintiff was a beneficial owner because he had parted with

  legal title in exchange for the right to receive royalties). As this Court explained in the

  Dismissal Order, "[b]ecause the exclusive right at issue in this case is the right to prepare

  derivative works, Plaintiffs' citation to their receipt of the so-called 'writer's share' for public

  performances of the work is an insufficient basis for standing in this action. The same is

  true for Plaintiffs' reliance on their (or more accurately, their companies') receipt of

  mechanical royalties for Hust/in'." (DE 399 at 40 FN 39). See Fahmy v. Jay-Z, 908 F.3d

  383, 394 (9th Cir. 2018) (holding that although Plaintiff was entitled to receive royalties

  from the public performance and reproduction of the copyright, he was not entitled to

  receive royalties based on the exclusive right at issue in the case-the right to prepare

  derivative works-so he lacked standing to sue for infringement as beneficial owner).

         Next, the Court again notes that in its Dismissal Order, it identified-without

  resolving-many legal and factual disputes regarding Plaintiffs' purported ownership of

  Hust/in'. See supra, 4-5. That this Court never ruled on these issues-Plaintiffs conceded

  at the November 14 status conference that many of these issues are for the Court, not a



                                                  14
Case 1:13-cv-24700-KMW Document 462 Entered on FLSD Docket 01/04/2019 Page 15 of 38



  jury, to resolve-undermines Plaintiffs' argument that the Eleventh Circuit ruled on

  ownership. A district court should resolve legal and factual disputes in the first instance;

  "[w]hen an appellate court discerns that a district court has failed to make a finding

  because of an erroneous view of the law, the usual rule is that there should be a remand

  for further proceedings to permit the trial court to make the missing findings ... ."Pullman-

  Standard v. Swint, 456 U.S. 273, 291-92 (1982); see, e.g., Canupp v. Paul, 716 F. App'x

  836, 843 (11th Cir. 2017) ("[S]ince the district court did not rule on that issue, neither do

  we."). Accordingly, this Court must now resolve the undecided legal issues in light of the

  Eleventh Circuit's ruling that Plaintiffs have established a prima facie case of ownership.

         Finally, Plaintiffs ignore the practical implications of this Court simply deciding,

  based on the Eleventh Circuit's comments in dicta on ownership, that the ownership issue

  has been "take[n] care of," "at least for purposes of proceeding to trial, and the Court need

  not, therefore, wade into the various agreements, etc." (DE 447 at 7). Plaintiffs readily

  acknowledged at the November 14 status conference that numerous, "purely legal"

  ownership issues remain for the Court, not a jury, to decide. But besides saying that the

  time to resolve these issues is "not now," 12 Plaintiffs' counsel offered no procedural or

  substantive proposal for how, or when, the Court would rule on these purely legal issues.

  For all these reasons, the Court finds that the Eleventh Circuit did not resolve the Parties'

  summary judgment arguments on ownership. The Court will therefore turn to the Parties'




  12Presumably, Plaintiffs' counsel meant that the Court should not resolve these issues in
  the summary judgment context. Counsel never identified, however, another appropriate
  context in which to resolve the issues.
                                               15
Case 1:13-cv-24700-KMW Document 462 Entered on FLSD Docket 01/04/2019 Page 16 of 38



  competing positions, accepting that Plaintiffs have established a prima facie case of

  ownership, and are thus entitled to a rebuttable presumption on the issue. 13

         B.     Legal Ownership

         The background facts regarding Plaintiffs' purported legal ownership interests are

  set forth in the Court's 2016 Dismissal Order. See (DE 399 at 29-39; 43). Based on

  these facts and the Parties' arguments, the Court now determines that there are no

  genuine issues of material fact on Roberts' legal ownership interest: He is not a legal

  owner of Hust/in'. Triable issues of fact remain, however, regarding Harr and Jackson's

  legal ownership interests.

                i.     Roberts Is Not A Legal Owner Of Hust/in'

         The Parties agree that Roberts' legal ownership claim depends on the validity and

  effect of his May 2006 assignment of his interest in Hust/in' to 3 Blunts, given that 3 Blunts

  administratively dissolved in 2004. As discussed, neither the Court's Dismissal Order nor

  the Eleventh Circuit's Opinion resolved this question.

         Plaintiffs argue that the assignment was ineffective and void, and therefore legal

  ownership of Hustlin'remained with Roberts, because: (1) Section 15.01 of the Sony/ATV




  13
     The Court notes that, on appeal, Plaintiffs argued that "[t]o the extent there is any
  conflict [in the registrations], Plaintiffs may not be entitled to simply rely on the usual
  presumption that attends a registration but would have to present evidence of the
  underlying facts .... " Plaintiffs cited the following cases: M & 0 Intern. Corp. v. Chan,
  901 F. Supp. 1502, 1510 (D. Hawaii 1995) (competing registrations cancel each other out
  regarding presumption of originality); NBC Subsidiary, Inc. v. Broadcast Information
  Services, Inc., 717 F. Supp. 1449, 1451 (D. Colo. 1988) (conflicting statements regarding
  publication in multiple registrations would "neutralize" each other's presumption, requiring
  court to analyze and adjudicate evidence). Even though Plaintiffs seem to have
  acknowledged that they are not entitled to an evidentiary presumption of ownership, the
  Court will analyze Defendants' ownership arguments presuming that Plaintiffs are entitled
  to this initial, rebuttable presumption.
                                               16
Case 1:13-cv-24700-KMW Document 462 Entered on FLSD Docket 01/04/2019 Page 17 of 38



  Agreement     provides that upon 3 Blunts' dissolution, Roberts would individually be

  substituted as the contracting party in place of 3 Blunts; (2) under Florida law, dissolved

  entities may only "wind up" their business, and cannot engage in conducting "new

  business," and here, acquiring ownership of Hust/in' from Roberts constitutes "new

  business"; and (3) the assignment language in the agreement describes the assignee as

  "3 Blunts Lit at Once, LLC, its successors and assigns," and Roberts is a "successor" of

  3 Blunts given its dissolution.

         Defendants respond that the assignment of copyright per the agreement was

  effective, and stripped Roberts of his legal ownership, because: (1) Section 15.01 only

  provides for the substitution of Roberts in place of 3 Blunts if Sony/ATV exercises an

  option-by sending a notice-which never occurred here; (2) dissolved entities are

  allowed to "marshal" and "collect" assets, which 3 Blunts was doing when it obtained

  Roberts' copyright; and (3) "Florida law accords very little significance to the fact that a

  company is administratively dissolved."

         The Court agrees with Defendants that Roberts conveyed his legal ownership

  interest in Hust/in' to 3 Blunts, despite 3 Blunts' status as administratively dissolved.

  Section 15.01 of the Sony/ATV Agreement-which Roberts relies on to argue that he was

  "substituted" into the agreement for 3 Blunts-states, in part:

         In the event of your [(3 Blunts')] dissolution ... then at any time after the
         occurrence of any such event, in addition to any other remedies under this
         agreement or otherwise, Sony shall have the option by notice to require
         that Controlled Songwriter [(Roberts)] render his personal services directly
         to it for the remaining balance of their Term, including any extensions
         thereof, for the purpose of writing, delivering and releasing musical
         compositions upon all the same terms and conditions as are contained
         herein. In such event Controlled Songwriter shall be deemed substituted
         for you as a Party to this agreement.


                                              17
Case 1:13-cv-24700-KMW Document 462 Entered on FLSD Docket 01/04/2019 Page 18 of 38



  (DE 235-2) (emphasis added). This provision does not support Roberts' argument. It

  provides that if 3 Blunts is dissolved, then Sony/ATV has "the option" of substituting

  Roberts for 3 Blunts as a party to the Sony/ATV Agreement, but only after providing

  "notice" of invoking the option. That never happened here, and therefore Roberts was

  never substituted into the agreement under Section 15.01. And even if such substitution

  had occurred under Section 15.01, that provision only applies to the agreement between

  3 Blunts and Sony/ATV; it has no bearing on the separate assignment of copyright from

  Roberts to 3 Blunts. Nor does the agreement's description of the assignee as "3 Blunts

  Lit at Once, its successors and assigns" support Plaintiffs' position that Roberts remained

  legal owner of Hust/in'. There is no support for this argument in law or fact.

         The actions of Roberts and 3 Blunts after the May 2006 Sony/ATV Agreement

  demonstrate that Roberts conveyed his interest in Hust/in' to 3 Blunts. It was 3 Blunts-

  not Roberts-that, more than six years later, entered into an agreement with Sony that

  purported to grant 3 Blunts the right to sue for alleged infringement of the Hust/in'

  copyright. And during this litigation, Plaintiffs maintained that the agreement was effective

  insofar as 3 Blunts transferred its interest in Hust/in' to Sony/ATV, which would not be so

  if the initial assignment to 3 Blunts was "legally ineffective." Roberts, in responding to

  Defendants' interrogatories, also stated that his Hust/in' revenue share was "18.75%

  through 4 Blunts," consistent with the assignment to 4 Blunts in the July 2006 addendum.

         Florida law does not support Roberts' argument that his assignment to an

  administratively dissolved was void ab initio. Under the Florida Limited Liability Act in

  effect at the time of Roberts' transfer to 3 Blunts and 3 Blunts transfer to Sony/ATV, 3

  Blunts "continue[d] its existence," notwithstanding its administrative dissolution. Fla. Stat.



                                               18
Case 1:13-cv-24700-KMW Document 462 Entered on FLSD Docket 01/04/2019 Page 19 of 38



  § 608.4431(1) (repealed 2014); Fla. Stat.§ 605.0714 (5) (2014) (same). "Dissolution of a

  limited liability company does not: (a) Transfer title to the limited liability company assets."

  Fla. Stat.§ 608.4431 (2) (repealed 2015) (emphasis added); Fla. Stat.§ 605.0717 (2015)

  (same). Therefore, Plaintiffs' assertion that Roberts retained any interest in Hust/in'

  because of 3 Blunts' administrative dissolution in 2006 is legally untenable. See United

  States v. All Funds in the Account of Prop. Futures, Inc., 820 F. Supp. 2d 1305, 1331

  (S.D. Fla. 2011) (holding that the express terms of Fla. Stat. § 608.4431 are "contrary to

  the position [] that dissolution of [an LLC] allowed Claimants to step into the void created

  ... and confer standing" to file claims on the LLC's behalf) affd sub nom. United States

  v. ADT Sec. Servs., Inc., 522 F. App'x 480 (11th Cir. 2013). Because Roberts assigned

  his legal interest in Hust/in' to his company 3 Blunts, he lacks standing to sue for

  infringement as a legal owner.

                ii.     The Court Cannot Resolve Harr And                    Jackson's     Legal
                        Ownership Status On Summary Judgment

         Harr's and Jackson's legal ownership interest in Hust/in' is less clear. Indeed, the

  Court determines that genuine disputes of material fact preclude entry of summary

  judgment on this issue.

                        (a}    The Court Cannot Determine If Hust/in' Was Created As A
                               "Work For Hire" On Summary Judgment

         Under Title 17 U.S.C. § 101, a work is "for hire" if it is "a work prepared by an

  employee within the scope of his or her employment." 17 U.S.C. § 101. If a work is made

  "for hire," then the employer owns the work, and the individuals who created it have no

  ownership interest. See Estate of Burne Hogarth v. Edgar Rice Burroughs, Inc., 342 F.3d

  149 (2d Cir. 2003).



                                                19
Case 1:13-cv-24700-KMW Document 462 Entered on FLSD Docket 01/04/2019 Page 20 of 38



         A work for hire "can arise through one of two mutually exclusive means, one for

  employees and one for independent contractors." Cmty. for Creative Non-Violence v.

  Reid, 490 U.S. 730, 743 (1989). In Reid, the Supreme Court instructed that general

  common-law agency principles, as defined in the Restatement, govern the resolution of

  whether an employee has created a work within the scope of his or her employment. Id.

  at 739-40 (citing Restatement (Second) of Agency § 228). This inquiry is highly fact

  specific. See Reid, 490 U.S. at 751-52 (identifying thirteen factors potentially relevant to

  the work for hire inquiry, including skill required; the source of the instrumentalities and

  tools; the location of the work; the duration of the relationship between the parties;

  whether the hiring party has the right to assign additional projects to the hired party; the

  extent of the hired party's discretion over when and how long to work; the method of

  payment; the hired party's role in hiring and paying assistants; whether the work is part of

  the regular business of the hiring party; whether the hiring party is in business; the

  provision of employee benefits; and the tax treatment of the hired party).

         Harr and Jackson argue that the undisputed evidence establishes that they did not

  create Hust/in' as a work for hire for TNF. According to them, the evidence shows that

  they do not receive a salary from TNF, that they jointly make all decisions about how

  much money they make and when they get paid from the company, and that they have

  "staff," not that they are employees themselves. They also note that there is no

  songwriting agreement relating to the Runners' composition of Hust/in'.

         In response, Defendants argue that no written contract need exist for a work to

  have been made "for hire," and assert that Harr and Jackson are the ones who have failed

  to point to documentary evidence to refute their creation of Hust/in' as a work for hire.



                                              20
Case 1:13-cv-24700-KMW Document 462 Entered on FLSD Docket 01/04/2019 Page 21 of 38



  They also cite to testimony from Jackson and Harr that they receive a fixed amount of

  money each month from TNF, which they set annually. 14 (See DE 230-3 at 33-41, 46-

  49). And it is undisputed that all royalties earned from their entertainment business are

  paid to TNF-not to Harr or Jackson.

         Although this Court did not fully analyze the work for hire issue in the Dismissal

  Order, it did comment: "Given that the relevant contracts relating to Harr and Jackson

  were entered into by TNF either for itself or furnishing the services of Harr and Jackson

  and were signed by an authorized signatory of TNF, and because both Harr and Jackson

  admit that all royalties for their services are paid to TNF, there appears to be substantial

  record evidence to support Defendants' contention that Hust/in' was a work for hire." (DE

  399 at 24 FN 30).

         The relevant law and record compel the conclusion that genuine disputes of

  material fact exist on whether Harr and Jackson created Hust/in' as a work for hire for

  their company, TNF.     On the one hand, Harr and Jackson's testimony about their

  relationship with TNF and TNF's operation suggest that Harr and Jackson-and not

  TNF-controlled all aspects of work that go into their entertainment business and went

  into the creation of Hust/in'. On the other hand, TNF owns and receives all royalties from

  works created by Harr and Jackson, and it is TNF who enters into all contracts relating to

  their musical compositions.    And the record is unclear how Harr and Jackson are

  compensated by TNF for their work. Accordingly, because the work for hire inquiry is



  14  Jackson testified during his deposition that he personally did not receive any money
  from SNS or TNF for his work on Hust/in'. (DE 230-3 at 34-37). He also testified that he
  receives a W-2 tax form from TNF for those payments. After his deposition, through the
  filing of an errata sheet, Jackson attempted to change all of his testimony regarding these
  matters. (See Id. at 35, 36, 43).

                                              21
Case 1:13-cv-24700-KMW Document 462 Entered on FLSD Docket 01/04/2019 Page 22 of 38



  highly fact specific, and because there is conflicting evidence, the issue is inappropriate

  for resolution on summary judgment, and must be determined by a jury.

                       {b)    Genuine Disputes Of Material Fact Exist Regarding
                              Whether Harr And Jackson Assigned Their Interest In
                              Hust/in' To TNF

         Even if Hust/in' were not created as a work for hire, Defendants argue that Harr

  and Jackson are not legal owners because they have assigned all their legal ownership

  interest to TNF. The Court agrees with Defendants that ample evidence supports the

  conclusion that Harr and Jackson assigned their interest in Hust/in' to TNF. 15          For

  example, all 16 three copyright registrations list TNF as a "claimant"-defined as "as either

  the author of the work or an organization 'that has obtained ownership of all rights under

  the copyright initially belonging to the author"'-by "written assignment" or "agreement."

  Aurora World, Inc. v. Ty Inc., 09-08463, 2011WL13176413, at *10 (C.D. Cal. Mar. 14,

  2011) (citing 37 C.F.R. § 202.3.). Moreover, the May 2006 Copyright Splits Agreement,

  and the November 2006 Nottingdale Agreement, both provide that TNF owns the

  Runners' legal ownership interest in Hust/in'. Finally, Leonard Zackheim, the Runners'

  entertainment lawyer who filed the first copyright registration, testified that he prepared a




  15
     Even Harr and Jackson concede "there is at least a suggestion in the record of having
  treated the Runners' interest as though it had been assigned to Trac N Field." (DE 228 at
  9) ("there are documents that lend support to an assignment from the Runners to their
  wholly owned company, [TNF].").
  16 Although Registration PA 1-367-972 lists a claimant as "J. Jackson & A. Harr Trac-N-
  Field Entertainment First-N-Gold," the Court finds that this shows that TNF was the
  claimant, not Harr or Jackson. That is because the claimant is listed as a claimant "by
  assignment." It would make no sense, and no one has argued, that Harr and Jackson
  ever received an assignment from anyone.
                                               22
Case 1:13-cv-24700-KMW Document 462 Entered on FLSD Docket 01/04/2019 Page 23 of 38



  transfer of copyright transferring the Runners' copyright interests in Hust/in' to their wholly

  owned company, Trac N Field Entertainment, lnc.17 (DE 228-19 at 62-65; 228-20).

         However, the express language of 17 U.S.C. § 204(a) fatally undermines

  Defendants' argument that they are entitled to summary judgment on Harr and Jackson's

  legal ownership claim. That statute provides that a "transfer of copyright ownership, other

  than by operation of law, is not valid unless an instrument of conveyance, or a note or

  memorandum of the transfer, is in writing and signed by the owner of the rights conveyed

  or such owner's duly authorized agent." Defendants have made no argument-other than

  the work for hire argument, which the Court cannot resolve on summary judgment for

  reasons already explained-that the Runners' legal interest in Hust/in' was assigned to

  TNF "by operation of law." Thus, without a written agreement conveying Jackson and

  Harr's legal interest in Hust/in' to TNF, the Court cannot rule on summary judgment that

  their interest was conveyed. There is no assignment agreement in the record, and both

  Harr and Jackson attest that they "do not recall either seeing or ever signing an

  assignment of [their] copyright interest in Hust/in' to Trac N Field." (DE 228-11 ~ 8, Harr

  Aft.; DE 228-12 ~ 7, Jackson Aft.). A triable issue of fact for the jury therefore exists on

  whether Harr and Jackson conveyed their interest in Hustlin'to TNF by written agreement,

  consistent with 17 U.S.C. § 204(a).




  17Mr. Zackheim first testified he had not prepared such a transfer, but when he was shown
  an application for copyright registration indicating "transfer by written agreement," he
  changed his testimony, saying "I must have prepared that." (DE 228-19 at 63; 228-20).
                                                23
Case 1:13-cv-24700-KMW Document 462 Entered on FLSD Docket 01/04/2019 Page 24 of 38



                      (c)    The Effect Of The October 2005 SNS/TNF Agreement
                             Must Also Be Decided By A Jury

         If Harr and Jackson did not create Hust/in' as a work for hire, and if they never

  assigned their interest to TNF, then the extent of their legal ownership in Hust/in' will

  depend, in part, on the effect of the October 2005 SNSfTNF Agreement. In October 2005,

  TNF, furnishing the services of Jackson and Harr, entered into a producers' agreement

  regarding Hust/in' with SNS. (DE 376 ~ 38). The October 2005 Agreement refers to Harr

  and Jackson collectively as "The Runners" or "you." (DE 230-5 at 46). The agreement

  states that "You will furnish to us your services as a record producer in connection with

  the recording of the master musical recording (Master) presently entitled 'Hustlin' ." Id.

  The agreement further provides:

        You warrant and represent that you are the copyright owner of fifty-percent
        (50%) of the Controlled Composition resulting from your authorship
        contributions. You, and any company or person controlled by you, hereby
        assign to First & Gold Music, Inc. ("FNG") a fifty-percent (50%) interest of
        your interest in the Controlled Composition. You and FNG agree to be
        bound the terms of the Transfer of Copyright and Royalty Agreement
        attached hereto as Exhibit "1" and incorporated herein by this reference.

  (Id. at 54). Harr signed the agreement with SNS as TNF's authorized signatory. (Id. at

  55). Jackson did not sign the agreement. (DE 376    ~   39).

                             (i) Jackson Not Signing

        Jackson claims that the agreement was not effective as to him because he "never

  signed an assignment of copyright assigning any of my copyright interest in Hust/in' to

  Slip N Slide Records, nor was Harr ever authorized to execute any such assignment on

  my behalf."   DE 228-12.     Plaintiffs take this position despite positing the following

  undisputed facts: (1) "On October 11, 2005, Harr and Jackson entered into a producer

  agreement with SNS ... for the sound recording of Hust/in'." (DE 376     ~   97) (emphasis


                                             24
Case 1:13-cv-24700-KMW Document 462 Entered on FLSD Docket 01/04/2019 Page 25 of 38



  added); and (2) "TNF is authorized by Harr and Jackson to commercially exploit their

  musical works, enter into contracts for that purpose, and collect and pay monies from the

  commercial exploitation of their musical works including Hust/in'." (Id.    ~   95).   At his

  deposition, Jackson testified that he recalled signing a producers' agreement for Hust/in',

  but in a subsequent errata sheet he corrected his testimony, stating that he did not recall

  signing the agreement. (DE 230-3 at 37, 43). Thus, despite Jackson's statements, there

  is also record evidence to show that either (i) Jackson separately assigned his interest in

  Hust/in' to FNG; or (ii) TNF was authorized to assign Jackson's interest in Hustlin'to FNG.

  This issue is therefore inappropriate for resolution on summary judgment.

                              (ii) Failure Of Consideration

         Harr and Jackson also argue that the agreement had no effect for another reason.

  They assert that the assignment was intended as consideration for FNG to act as

  publisher for Harr's interest and to make royalty payments pursuant to the Royalty

  Agreement that is part of the SNS Producer Agreement. (DE 230-5/54, 56). But Plaintiffs

  contend that FNG never acted as publisher for Harr, never accounted to Harr, and never

  made any royalty payments to Harr for Hust/in'. (DE 228). Plaintiffs therefore believe

  that the agreement fails for lack of consideration, it had no effect whatsoever, and both

  Harr and Jackson retained a 25% interest in Hust/in'. (See DE 228 at 7-8; DE 228-11      ~7,


  228-12   ~7).


        Once again, the Court determines that it cannot resolve this issue-whether the

  October 2005 SNS/TNF Agreement fails for lack of consideration-on summary

  judgment. The agreement, on its face, does not fail for lack of consideration, because in

  exchange for Harr and Jackson's services as producers, FNG promised to pay them cash



                                              25
Case 1:13-cv-24700-KMW Document 462 Entered on FLSD Docket 01/04/2019 Page 26 of 38



   and ongoing royalty payments. But such payments were never made, and Plaintiffs

   maintain that FNG is an owner of Hust/in' based on a transfer from Roberts, not Harr and

  Jackson. What happened after the agreement was signed, and whether the entire

  agreement is void as a result, is the subject of disputed and undeveloped facts. For

  example, at his deposition, Harr could not recall any significant details on the issue:

         Q: And what-what do you mean by First-N-Gold did not act as your
         publisher? A: They didn't - I don't know the details, my lawyers know. But
         I'm just being told that they didn't - they never accounted or anything to me
         that I'm aware of.

  (DE 245-3 at 5).      For these reasons, summary judgment on this discrete issue is

  inappropriate.

         C.     Beneficial Ownership

         Plaintiffs argue that if they cannot sue as legal owners of Hust/in', they can sue as

  beneficial owners.    The Court disagrees.        Plaintiffs' novel argument that beneficial

  ownership extends to an author whose separate, legally distinct company receives

  royalties-but who is not entitled to receive, and does not receive, royalties himself-fails

  as a matter of law. Based on the undisputed facts, Plaintiffs are not beneficial owners of

  the right to prepare derivative works of Hust/in'.

                i.     The Scope Of Beneficial Ownership

         "The legal or beneficial owner of an exclusive right under a copyright is entitled,

  subject to the requirements of section 411 [of the Copyright Act], to institute an action for

  any infringement of that particular right committed while he or she is the owner of it." 17

  U.S.C. § 501 (b).    "The paradigmatic-and only-example of an approved 'beneficial

  owner' suit is set forth in the legislative history of the Copyright Act, which describes the

  term 'beneficial owner' as 'includ[ing], for example, an author who had parted with legal


                                               26
Case 1:13-cv-24700-KMW Document 462 Entered on FLSD Docket 01/04/2019 Page 27 of 38



  title to the copyright in exchange for percentage royalties based on sales or license fees."'

  John Wiley & Sons, Inc. v. ORK Photo, 882 F.3d 394, 414 (2d Cir. 2018) (quoting H.R.

  Rep. No. 94-1476, at 159). Indeed, in John Wiley, the Second Circuit explained that it

  had never extended beneficial ownership "beyond the circumstance of an author

  transferring exclusive rights in exchange for royalty payments." Id. So too the Eleventh

  Circuit has only ever found "beneficial ownership" under this precise scenario: an author

  who parts with legal title to the copyright in exchange for royalties. See Smith v. Casey,

  741 F.3d 1236, 1242 (11th Cir. 2014) (applying the definition of "beneficial owner" found

  the Copyright Act's legislative history and holding that plaintiff was a beneficial owner

  because he "assigned his rights to the musical composition in exchange for royalties"). 18

         Plaintiffs urge this Court to apply a much more expansive definition of beneficial

  ownership. They argue that they can demonstrate beneficial ownership in the Hust/in'

  copyright merely by showing that "they are authors of the work who maintain a financial

  interest in, and continue to benefit from, the commercial use of the work." (DE 353, Pis.

  Proposed Jury Instruction, at 47). According to Plaintiffs, even though they personally do

  not receive any royalty payments from Hust/in', they are still beneficial owners because

  "[b]eneficial owners include authors who receive royalty payments for a creative work

  either directly or through companies owned and controlled by them, and who have a

  continuing present right to make decisions about the commercial use and exploitation of

  the work." Id.; see also Pis. Reply Brief on Appeal ("the author continues to be the

  equitable owner even if the copyright is assigned to his or her company and royalties from




  18Based on this Court's review, the decision in Smith is the only case where the Eleventh
  Circuit has discussed what constitutes beneficial ownership under 17 U.S.C. § 501 (b).
                                              27
Case 1:13-cv-24700-KMW Document 462 Entered on FLSD Docket 01/04/2019 Page 28 of 38



   the commercial exploitation of the assigned work are paid to the company"); Pis. Opening

   Brief on Appeal ("[T]he fact of ownership (even part-ownership) of the company to whom

   copyright had been assigned and/or other indicia of control and the company's right to

   receive royalties from third parties [is] sufficient to render the authors 'equitable' owners

   of copyright.").

          Plaintiffs' novel legal argument has no basis in law. No court has found beneficial

  ownership under these circumstances. None of the cases Plaintiffs cite held that a plaintiff

  could sue for infringement as beneficial owner without demonstrating that they assigned

  their legal interest in the copyright in exchange for the right to receive royalties, and that

  they, in fact, received such royalties themselves.

          In Cortner v. Israel, for example, the court held that authors who had parted with

  legal ownership to their copyright were nonetheless beneficial owners because the

  copyright assignee had also assumed the prior publisher's "obligation ... to pay the

  appellants such royalties as might be earned ... resulting in the payment of royalties to

  the composers." 732 F.2d at 270 (emphasis added). "[T]heir right to royalties ... gave

  them a sufficient beneficial interest in the copyright to give them standing" to sue. Id. at

  270-71.     Here, Plaintiffs never contracted 19 for, and are not entitled to receive, any

  royalties in exchange for assigning their legal interest in Hust/in'.        Nor have they




  19 The Second Circuit reasoned in Cortner that "[w]hen a composer assigns copyright title
  to a publisher in exchange for the payment of royalties, an equitable trust relationship is
  established between the two parties which gives the composer standing to sue for
  infringement of that copyright." Thus, under this scenario, the author remains an owner
  because the right to receive royalties is directly tied to the legal ownership that has been
  assigned. Here, no "equitable trust" of the kind referenced in Cortner was established
  between the Parties, because Plaintiffs did not transfer their legal ownership in Hust/in' in
  exchange for royalties.
                                                28
Case 1:13-cv-24700-KMW Document 462 Entered on FLSD Docket 01/04/2019 Page 29 of 38



  identified-after more than five years of litigation-any royalty payments they received

  based on the exclusive right to prepare derivative works of Hust/in'. Cortner, therefore,

  actually undermines Plaintiffs' beneficial ownership theory.

         The other cases Plaintiffs rely on are similarly inapposite. In Sasnett v. Convergent

  Media Sys., No. 95-12262, 1997 WL 33142149, at *4 & n.9 (D. Mass. Aug. 29, 1997), the

  court did not find-as Plaintiffs suggest-that a 50% owner of a company that held legal

  title to a copyright had standing; the court never even considered this issue. In dicta, the

  court remarked "it may be" that the company owner was a beneficial owner. In Silberman

  v. Innovation Luggage, Inc., No. 01-Civ-7109 (GEL), 2003 WL 1787123, at *7 (S.D.N.Y.

  Apr. 3, 2003), the court's holding was that "Silberman retained legal ownership" of the

  right he sought to enforce, because that right was never assigned. Id. at 7. He therefore

  had standing to sue. The court then commented-again in dicta-that hypothetically,

  even if the plaintiff were not a legal owner, "he could still have standing to sue as beneficial

  owner of that right, based on royalties received or other indicia of control." Id. at FN 5.

  The court did not rule on beneficial ownership, nor did it support or explain its comment

  regarding "other indicia of control." And in Love v. The Mail on Sunday, No. 05-7798, 2006

  WL 4046180, at *10 (C.D. Cal. Aug. 15, 2006), as Plaintiffs admit, the court only found

  that the plaintiffs were beneficial owners because they received royalties for exploitation

  of the compositions. But here, Plaintiffs' companies-not Plaintiffs-receive the royalties

  for the exploitation of the right to prepare derivative works of Hust/in'.

         The decisions in Wildlife Internationale, Inc. v. Clements, 591 F. Supp. 1542, 1546

  (D. Ohio 1984) and Drake v. Malouf, No. 99-0315, 1999 WL 1007642 *4 (N.D. Tex. Nov.

  5, 1999) are inapplicable and unpersuasive for similar reasons.          In Wildlife, the court



                                                29
Case 1:13-cv-24700-KMW Document 462 Entered on FLSD Docket 01/04/2019 Page 30 of 38



   applied the example of a beneficial owner found in the copyright act's legislative history:

   "A 'beneficial owner' for this purpose would include, for example, an author who had

   parted with legal title to the copyright in exchange for percentage royalties based on sales

   or license fees." 591 F. Supp. at 1546 (quotation omitted). The court then said that this

   example "describes exactly the contractual relationship between" the plaintiff (named

   Ruthraven) and the assignee of his copyright, DeSales: "Desales received certain

   reproduction and distribution rights in exchange forRuthven's right to royalties." Id. After

   reaching this conclusion, the court hypothesized, without any legal support, that the artist

   could also be a beneficial owner "[g]iven [his] position as owner and president of Wildlife

   and given that any reproduction by Wildlife was to be done under Ruthven's 'direct

   supervision and control[.]"' Id. In Drake, the court relied exclusively on this statement in

   dicta to rule, on a motion to dismiss, that the plaintiff could proceed as a beneficial owner

   because, applying Wildlife, Malouf was an owner and officer of the company that retained

   control over the copyrights at issue. Setting aside that Drake is an out-of-circuit, district

   court case involving a motion to dismiss, it relies on dicta from one other case-Wildlife

   v. Clements (also an out-of-circuit, district court case)-that supports Defendants' theory,

   not Plaintiffs', because it held that the artist was a beneficial owner since he had assigned

   his legal ownership in exchange for royalties. And even if Drake and Wildlife could be

   interpreted as expanding the definition of beneficial ownership, they would conflict with

  the only definition of beneficial owner that the Eleventh Circuit has recognized: an author

  who "had parted with legal title to the copyright in exchange for percentage royalties

  based on sales or license fees." Smith, 741 F.3d at 1241.




                                                30
Case 1:13-cv-24700-KMW Document 462 Entered on FLSD Docket 01/04/2019 Page 31 of 38



          Second, basic tenets of corporate law prohibit Plaintiffs from essentially treating

   their LLCs as shams. "Unless otherwise provided in the articles of organization or the

   operating agreement, property acquired with limited liability company funds is limited

   liability company property."§ 608.425(2), Fla. Stat (2006). Here, the Hust/in' copyright is

   owned by Plaintiffs' companies. Allowing Plaintiffs to call themselves "owners" of the

   copyright when the copyright is company property would ignore the corporate distinction.

   See Wallert v. At/an, 141 F. Supp. 3d 258, 276-77 (S.D.N.Y. 2015) ("First, the FAC's

   claim that Wallert, as owner of Moonstruck, is also the owner of Moonstruck's copyright

   ownership of The Rock composition, is legally wrong. A basic tenet of American corporate

   law is that the corporation and its shareholders are distinct entities. Therefore, an

   individual shareholder, by virtue of his ownership of shares, does not own the

   corporation's assets.") (internal citations, quotations, and alterations omitted).

          Third, even if "control" over a copyright's exploitation were a factor in determining

  beneficial ownership-and it is not-none of the agreements among TNF, 3 Blunts,

  Roberts, Harr, or Jackson state that Plaintiffs retained "any right to authorize or create

  derivative works of Hust/in"'. To the contrary, that exclusive right belongs to the entities

  to which it was assigned.       Because only a beneficial owner of the right to prepare

  derivative works would have standing to bring this infringement suit, Plaintiffs' vague

  references to "control" over other unrelated aspects of Hustlin's exploitation are irrelevant.

  See, e.g., Fahmy, 2018 WL 5781357 at *8.

          Fourth, Plaintiffs' contention that a "financial interest" in a copyright is enough to

  confer standing belies the plain text of the copyright statute, which provides that only a

  legal or beneficial "owner" can sue for infringement. Being an owner of a copyright is



                                                31
Case 1:13-cv-24700-KMW Document 462 Entered on FLSD Docket 01/04/2019 Page 32 of 38



   different than having an interest in one. "It is therefore not enough that a putative

   beneficial owner obtains a mere interest in a copyright, even if that interest is valuable."

   See Cortner, 732 F.2d at 271. Accepting Plaintiffs' argument that individuals with "a

   current economic interest in the commercial exploitation of' a copyright may sue for

   infringement would ignore the legislative requirement that only an "owner" can sue and

  greatly expand the number of individuals who may sue for infringement. As discussed,

   nothing in the law supports this result. Accordingly, the Court holds that a beneficial

  owner is a legal owner who has parted with legal title to an exclusive right under a

  copyright in exchange for the right to receive royalties based on the commercial

  exploitation of that right.

                 ii.     Plaintiffs Are Not Beneficial Owners

         Having defined the contours of beneficial ownership, the Court concludes that

  Plaintiffs cannot sue as beneficial owners.           After conducting     a thorough and

  comprehensive review of the record on summary judgment, this Court explained that

  nothing in the record showed that Plaintiffs received, or were even entitled to receive,

  royalties relating to the right to prepare derivative works of Hust/in':

         The Court has not found in the voluminous briefing, nor have the Parties
         identified, any record evidence demonstrating any royalty payment to
         Roberts, Harr, or Jackson relating to the right to prepare derivative works of
         Hust/in'. Nor is there any evidence that Plaintiffs, themselves, are even
         entitled to royalties for the exploitation of Hust/in'. Roberts has not produced
         any royalty statements showing any royalties he received from 3 Blunts or
         FNG in exchange for any transfer of his ownership interest in Hust/in'.
         Likewise, Harr and Jackson have produced no royalty statements showing
         any royalties received from TNF or FNG in exchange for any transfer of any
         ownership interest in Hust/in'. In addition, to the extent Harr and Jackson
         receive royalties for their compositions, both testified that all royalties are
         paid to TNF, not to Harr and Jackson. As Harr and Jackson explain, all
         royalties earned "from Hust/in' (other than the writer's share which is paid
         to me personally) are paid initially to Trac N. Field. Harr and I are paid by


                                                32
Case 1:13-cv-24700-KMW Document 462 Entered on FLSD Docket 01/04/2019 Page 33 of 38



          Trac N Field through draws or distributions." And each of the agreements
          signed by TNF, 3 Blunts, Roberts, Harr or Jackson make clear that Roberts,
          Harr and Jackson do not have any right to authorize or create derivative
          works of Hust/in'; rather, that exclusive right belongs to Sony/ATV, FNG,
          and Notting Dale/Warner. In sum, there is no evidence that Harr, Jackson,
          or Roberts personally receive any royalties for the licensing or commercial
          exploitation of Hust/in'.

   (DE 399 at 41-42) (internal citations omitted). 20

          At the November 14 status conference, Plaintiffs repeated their claim that they

   have produced royalty statements showing they personally receive royalties from Hust/in'.

   But these six pages of purported royalty statements (DE 228-9) do not demonstrate

   beneficial ownership. To begin, Plaintiffs have not explained-through witness testimony

   or otherwise-what these documents show. And it is impossible for the Court to decipher

  them. The first page, for example, identifies Sony/ATV Music Publishing at the top, and

   the alleged royalty payment is directed to "client" 4 Blunts Lit At Once Lie and "payee"

  William Roberts. The following percentages are reflected: "Song Share%" (50%); "Cntrl

   Coll %" (75%); and "Royalty %" (75%). Plaintiffs do not explain, and the Court cannot




  20
     In a footnote on the final page of their recent supplemental memorandum on ownership
  issues, Plaintiffs argue that "[i]f the Court [] disagrees with [their] position and deems
  either 3 Blunts Lit at Once, LLC and/or Track N Field, LLC to be 'real parties in interest,'
  then the remedy, pursuant to Rule 17(a)(3) Fed. R. Civ. P., is to join them as parties, not
  dismiss the whole case." (DE 459 at 8, FN 7). That rule does not apply here. The "rule
  was designed to avoid forfeiture and injustice when an understandable mistake has been
  made in selecting the party in whose name the action should be brought. Thus, it has
  been held that the rule should be applied only to cases in which substitution of the real
  party in interest is necessary to avoid injustice, and not when the determination of the
  right party to bring the action was not difficult and when no excusable mistake had been
  made." Gamba Music, Inc. v. Avant, 62 F. Supp. 3d 632, 641 (E.D. Mich. 2014) (citing
  Wright & Miller, 6A Fed. Prac. & Proc. § 1555 (3d ed.) (collecting cases)) (internal
  quotations omitted). Plaintiffs' years-long effort to convince the Court that they, and not
  their companies, are proper plaintiffs demonstrates that no "understandable mistake" has
  been made, and no injustice would result from denying this eleventh-hour suggestion to
  substitute viable plaintiffs into this case.

                                                33
Case 1:13-cv-24700-KMW Document 462 Entered on FLSD Docket 01/04/2019 Page 34 of 38



  determine, how any of these numbers align with royalty payments due to Plaintiff Roberts

   under any of the copyright transfer agreements in this case. The Court cannot tell, from

  this page or the five others, what the payments are, why the payments are being made,

  who is being paid, and whether the payments relate in any way to the right to prepare

  derivative works of Hustlin'. 21 Accordingly, they are not useful or relevant to this Court's

  analysis on beneficial ownership.

         The documents cannot demonstrate beneficial ownership for other reasons. On

  the first page, the purported royalty payment is from Sony/ATV, an entity that is not a

  direct assignee of Roberts in any of the relevant transfer agreements.           Instead, as

  explained, Roberts assigned his legal interest in Hust/in' to 3 Blunts. The purported

  royalty statement from Sony/ATV therefore does not appear to show royalty payments

  being made in exchange for Roberts' assignment of his legal title to Hust/in'. The second

  and third pages of alleged "royalty statements" are from BMI, a performing rights society.

  As such, they likely reflect payment of "writer's share" or publishing royalties that, as

  explained above, do not demonstrate beneficial ownership.          And finally, none of the

  statements are tied to the right to prepare derivative works of Hust/in'. As discussed, to

  demonstrate beneficial ownership Plaintiffs must show that they receive royalties based




  21As stated previously, Plaintiffs have not cited-in any of their numerous filings regarding
  ownership-any testimony or other evidence that explains how these purported "royalty
  payment" invoices demonstrate beneficial ownership. The Eleventh Circuit has made
  clear that district courts "may decide a motion for summary judgment without undertaking
  an independent search of the record," and "need not consider materials not cited by the
  parties." A.L. v. Jackson Cty. Sch. Bd., 635 F. App'x 774, 786 (11th Cir. 2015) (citing Fed
  R. Civ. P. 56(c)(3)). "Indeed, [the Eleventh Circuit has] cited with approval the Seventh
  Circuit's memorable quote that appellate judges 'are not like pigs, hunting for truffles
  buried in briefs."' Id. (quoting United States v. Dunkel, 927 F.2d 955, 956 (7th Cir. 1991)).

                                               34
Case 1:13-cv-24700-KMW Document 462 Entered on FLSD Docket 01/04/2019 Page 35 of 38



   on the right to prepare derivative works. Fahmy, 908 F.3d at 394. They have not done

   so, and thus cannot demonstrate standing to sue as beneficial owners. 22

   Ill.   ANALYSIS: DAMAGES

          The Parties also dispute the percentage of total infringement damages that the

   Plaintiffs are permitted to pursue and ultimately recover if they succeed. Plaintiffs argue

   that they "are entitled to pursue and be awarded 100% of the damages in this case,

   subject to whatever contractual obligations exist among and between all of the various

   rights holders." Defendants disagree. They argue that Plaintiffs may only pursue, and

   ultimately recover, damages that are limited by their respective ownership interests in the

   Hust/in' copyright. After careful review of the Parties' arguments and applicable law, the

   Court agrees with Defendants.

          "[R]ecovery in a copyright case is 'confined to the [plaintiff's] own part; that is to

  say, to its own actual damages, to its proper share of any statutory damages, and to its

   proper share of the profits."' Manno v. Tenn. Prod. Ctr., Inc., 657 F. Supp. 2d 425, 432

   (S.D.N.Y. 2009) (quoting Edward B. Marks Music Corp. v. Jerry Vogel Music Co., 140

  F.2d 268, 270 (2d Cir. 1944)) (citing Nimmer supra,§ 12.03). The rationale behind this




  22
      At the November 14 status conference, Plaintiffs argued-for the first time-that
  Roberts is a beneficial owner of Hust/in' under the June 25, 2001 SNS Recording
  Contract, because that agreement assigned SNS part of his interest in Hust/in' in
  exchange for royalties. Plaintiff has since disclaimed this argument, based on the terms
  of a subsequent agreement that relieved SNS of any obligation to pay Roberts royalties.
  See (OE 460 at 2 FN 1) ("Contrary to Defendants' assertions, Roberts does not maintain
  it is a beneficial owner of Roberts' 12.5% interest that was transferred to SNS. Prior to
  the January 31, 2006 Roberts/SNS agreement, Roberts could have asserted beneficial
  ownership because it was a transfer by an author to a publisher in exchange for royalties.
  Plaintiffs' counsel repeatedly stated at the hearing that this agreement was being used
  solely as an example of this 'classic' type of beneficial ownership interest. The
  amendment in January, 2006 terminated SNS' obligation to pay royalties to Roberts.").
                                                35
Case 1:13-cv-24700-KMW Document 462 Entered on FLSD Docket 01/04/2019 Page 36 of 38



   rule is sound. A joint owner of a copyright is not required to join his other co-owners in

   an action for infringement, and where one co-owner acts alone in bringing suit, the co-

   owner cannot affect the rights of the other co-owners who are not parties to the action.

  Thus, if plaintiff co-owners "were allowed to recover 100% of statutory damages in this

   case, defendants could be subject to multiple liability in the event that [the non-party co-

   owners] decide to pursue [their] own infringement claim. Second, limiting [Plaintiffs]

   damages based on [their] ownership interest will not unjustly enrich defendants. To the

  contrary, it is [Plaintiffs] who would be unjustly enriched if [they] were permitted to recover

   a greater amount of damages than that to which [they are] entitled." Jacino v. Illinois Tool

   Works Inc., No. 16 CIV. 1704, 2017 WL 4480752, at *3 (E.D.N.Y. Oct. 6, 2017) (limiting

  plaintiff Jacino's statutory damages to his 50% share if he prevails on the copyright claim).

          Plaintiffs provide the Court no reason to deviate from this general rule. The primary

  case on which they rely-In re Isbell Record, Inc., 774 F.3d 859, 872 (5th Cir. 2014)-

  does not allow the recovery they seek. In Isbell, the Fifth Circuit allowed the plaintiff co-

  owner to sue for 100% of the total damages because "[t]here was testimony that [he] is

  the administrator of 100 percent of the royalties and is responsible for accounting to Tag

  Team." That is not the case here. No other case cited by Plaintiffs supports their position.

         For these reasons, at trial, Plaintiffs Harr and Jackson will have the burden of

  proving that they are legal owners of the Hust/in' copyright, and they further must prove

  the extent of their ownership interests. They will then be limited in their recovery to their

  pro rata, "proper share of the profits."




                                                36
Case 1:13-cv-24700-KMW Document 462 Entered on FLSD Docket 01/04/2019 Page 37 of 38



    V.       CONCLUSION

             Accordingly, the Court ORDERS AND ADJUDGES that:

             1.    Defendants’ motion for summary judgment (DE 230) is GRANTED IN PART

    AND DENIED IN PART.

             2.    Plaintiff William Roberts has no standing as an owner to sue for copyright

    infringement, and thus the Court will enter final judgment against him.

             3.    A genuine issue of material fact exists regarding Plaintiffs Andrew Harr and

    Jermaine Jackson’s legal ownership interest in Hustlin’. That issue, along with their

    copyright infringement claims, must be presented to a jury as set forth above.

             4.    Plaintiffs Harr and Jackson have not raised a genuine issue of material fact

    regarding their beneficial ownership interest in Hustlin’; they are not beneficial owners,

    and they may not present this theory to the jury.

             5.    At trial, the jury must determine the percentage ownership interests of

    Plaintiffs Harr and Jackson, and they will be limited in their recovery of the total

    infringement damages by their respective interests.

             6.    The Parties’ shall comply with the following deadlines:

        January 14, 2019      The Parties’ shall file a joint notice explaining what issues
                              remain to be decided by the Court before trial, not including the
                              Parties’ motions in limine and Daubert motions.

        January 30, 2019      The Parties’ shall file their joint deposition designations
                              pursuant to the Court’s instructions. See (DE 455 at 2).

        February 8, 2019      The Parties shall appear before the undersigned for a status
        at 10:00 A.M.         conference.




                                                37
     
                                                        9£
        380nr 181t:llSIO S31\f
                SV\J\fllllM ·v-.i
                                                                                                  ·5~oz
     fuenLI~ S!Lll           'ep!JOl.:l '!We!v-.J LI!   SJeqwe1..1~   LI!   03~30~0   ON'f 3NOO
Case 1:13-cv-24700-KMW Document 462 Entered on FLSD Docket 01/04/2019 Page 38 of 38
